Case 2:15-ml-02668-PSG-SK Document 1361 Filed 05/22/24 Page 1 of 7 Page ID #:51638



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          League, NFL Enterprises LLC, and the
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   18
                                      UNITED STATES DISTRICT COURT
   19
                                    CENTRAL DISTRICT OF CALIFORNIA
   20
   21      IN RE: NATIONAL FOOTBALL                   Case No. 2:15-ml-02668−PSG (SKx)
           LEAGUE’S “SUNDAY TICKET”
   22      ANTITRUST LITIGATION                       DEFENDANTS’ PROPOSED
           ______________________________             VERDICT FORM
   23
           THIS DOCUMENT RELATES TO:
   24      ALL ACTIONS
   25
   26
   27
   28
        Case No. 2:15-ml-02668-PSG (SKx)                           Defendants’ Proposed Verdict Form
Case 2:15-ml-02668-PSG-SK Document 1361 Filed 05/22/24 Page 2 of 7 Page ID #:51639



    1   When answering the following questions and filling out this Verdict Form, please
    2   follow the directions provided throughout the form. Your answer to each question
    3   must be unanimous.
    4
        We, the jury, unanimously return these answers as our verdict in this case:
    5
    6                     Conspiracy to Restrain Trade (Sherman Act Section 1)
    7
        Question No. 1:
    8
        Have plaintiffs proven the existence of a relevant antitrust market for professional
    9
        football telecasts in the United States?
   10
   11
   12                     _____YES         _____NO

   13
                 If you answered “Yes,” then continue to Question 2.
   14
   15            If you answered “No,” then stop, and sign and date the last page of the
                 verdict form.
   16
   17
   18
        Question No. 2:
   19
        Have Plaintiffs proven that there was a conspiracy that unreasonably restrained
   20
        trade in that market?
   21
   22
                          _____YES         _____NO
   23
   24
                 If you answered “Yes,” then continue to Question 3.
   25
   26            If you answered “No,” then stop, and sign and date the last page of the
                 verdict form.
   27
   28
                                                   1
        Case No. 2:15-ml-02668-PSG (SKx)                             Defendants’ Proposed Verdict Form
Case 2:15-ml-02668-PSG-SK Document 1361 Filed 05/22/24 Page 3 of 7 Page ID #:51640


        Question No. 3:
    1
    2   Have Plaintiffs proven that the NFL and the NFL teams did not operate as a single

    3   entity for the purpose of licensing telecasts of NFL football games?

    4
    5                      _____YES        _____NO
    6
    7            If you answered “Yes,” then continue to Question 4.
    8            If you answered “No,” then stop, and sign and date the last page of the
    9            verdict form.
   10
   11
        Question No. 4:
   12
        Have Plaintiffs proven that the NFL Teams knowingly joined this conspiracy?
   13
   14
   15                     _____YES         _____NO
   16
   17   Question No. 5:
   18
        Have Plaintiffs proven that DirecTV knowingly joined this conspiracy?
   19
   20
                          _____YES         _____NO
   21
   22
                 If you answered “Yes,” then continue to Question 6.
   23
                 If you answered “No,” then stop, and sign and date the last page of the
   24
                 verdict form.
   25
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        Case No. 2:15-ml-02668-PSG (SKx)                            Defendants’ Proposed Verdict Form
Case 2:15-ml-02668-PSG-SK Document 1361 Filed 05/22/24 Page 4 of 7 Page ID #:51641


        Question No. 6:
    1
    2   Have Plaintiffs proven that every member of the Commercial Class suffered injury

    3   to their business or property as a result of this conspiracy?

    4
    5                      _____YES         _____NO
    6
    7
    8   Question No. 7:
    9   Have Plaintiffs proven that every member of the Residential Class suffered injury
   10   to their business or property as a result of this conspiracy?
   11
   12
                           _____YES         _____NO
   13
   14            If you answered “Yes” to either Question 6 or 7, continue to Question 8.
   15
                 If you answered “No” to both Question 6 and 7, then stop, and sign and
   16
                 date the last page of the verdict form.
   17
   18
                             Conspiracy to Monopolize (Sherman Act Section 2)
   19
        Question No. 8:
   20
   21   Have Plaintiffs proven that there was a conspiracy to engage in anticompetitive

   22   conduct with the specific intent to give the NFL monopoly power in the market for

   23   professional football telecasts in the United States?
   24
   25                      _____YES         _____NO
   26
   27            If you answered “Yes,” then continue to Question 9.
   28            If you answered “No,” then continue to Question 13.
                                                    3
        Case No. 2:15-ml-02668-PSG (SKx)                                Defendants’ Proposed Verdict Form
Case 2:15-ml-02668-PSG-SK Document 1361 Filed 05/22/24 Page 5 of 7 Page ID #:51642


        Question No. 9:
    1
    2   Have Plaintiffs proven that the NFL Teams knowingly joined this conspiracy and

    3   committed an overt act in furtherance of that conspiracy?

    4
    5                      _____YES        _____NO
    6
    7   Question No. 10:
    8   Have Plaintiffs proven that DirecTV knowingly joined this conspiracy and
    9   committed an overt act in furtherance of that conspiracy?
   10
   11
                           _____YES        _____NO
   12
   13            If you answered “Yes,” then continue to Question 11.
   14
                 If you answered “No,” then continue to Question 13.
   15
   16
        Question No. 11:
   17
        Have Plaintiffs proven that every member of the Commercial Class suffered injury
   18
        to their business or property as a result of this conspiracy?
   19
   20
   21                      _____YES        _____NO
   22
   23   Question No. 12:
   24   Have Plaintiffs proven that every member of the Residential Class suffered injury
   25   to their business or property as a result of this conspiracy?
   26
   27
                           _____YES        _____NO
   28
                                                   4
        Case No. 2:15-ml-02668-PSG (SKx)                                Defendants’ Proposed Verdict Form
Case 2:15-ml-02668-PSG-SK Document 1361 Filed 05/22/24 Page 6 of 7 Page ID #:51643



    1                                      Damages
    2   Question No. 13:
    3   We award the following damages caused by the Defendants’ conduct:
    4
    5   $___________________________

    6   Sign and date this Verdict Form and inform the Court that the jury has reached a
        verdict.
    7
        DATED:            ____________      ____________________________________
    8
                                            Foreperson
    9
   10
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        Case No. 2:15-ml-02668-PSG (SKx)                        Defendants’ Proposed Verdict Form
Case 2:15-ml-02668-PSG-SK Document 1361 Filed 05/22/24 Page 7 of 7 Page ID #:51644



    1   Dated: May 22, 2024                Respectfully submitted,
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   26                                      Individual NFL Clubs
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                                              6
        Case No. 2:15-ml-02668-PSG (SKx)                        Defendants’ Proposed Verdict Form
